                           Case 1:21-cr-00686-FYP Document 34 Filed 05/06/22 Page 1 of 8
AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 1



                                           UNITED STATES DISTRICT COURT
                                                             District
                                                      __________      of Columbia
                                                                  District of __________
                                                                          )
              UNITED STATES OF AMERICA                                    )         JUDGMENT IN A CRIMINAL CASE
                         v.                                               )
                       Nathan Wayne Entrekin                              )
                                                                          )         Case Number: CR 21-686 (FYP)
                                                                          )         USM Number: 09045-196
                                                                          )
                                                                          )          Danielle Jahn
                                                                          )         Defendants Attorney
THE DEFENDANT:
   pleaded guilty to count(s)          Five (5) of the Information filed on 11/18/2021
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended               Count
40 USC § 5104(e)(2)(G)             Parading, Demonstrating, or Picketing in a Capitol Building              1/6/2021                      5




       The defendant is sentenced as provided in pages 2 through                9          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)      1,2,3,4                                    is       are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                           5/6/2022
                                                                         Date of Imposition of Judgment




                                                                         Signature
                                                                                re of Judge




                                                                                         Florence Y. Pan, U.S. District Court Judge
                                                                         Name and
                                                                               nd Title of Judge



                                                                         Date
                          Case 1:21-cr-00686-FYP Document 34 Filed 05/06/22 Page 2 of 8
AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2  Imprisonment

                                                                                                    Judgment  Page       2       of   9
 DEFENDANT: Nathan Wayne Entrekin
 CASE NUMBER: CR 21-686 (FYP)

                                                            IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 Forty-five (45) days.




          The court makes the following recommendations to the Bureau of Prisons:

           House defendant as close to Phoenix/Flagstaff area of Arizona as allows.




          The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:

               at                                    a.m.          p.m.        on                                             .

               as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

               before 2 p.m. on                                            .

               as notified by the United States Marshal.

               as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

 at                                                , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                           By
                                                                                               DEPUTY UNITED STATES MARSHAL
                          Case 1:21-cr-00686-FYP Document 34 Filed 05/06/22 Page 3 of 8
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 4Probation
                                                                                                       JudgmentPage     3    of        9
 DEFENDANT: Nathan Wayne Entrekin
 CASE NUMBER: CR 21-686 (FYP)
                                                             PROBATION
 You are hereby sentenced to probation for a term of:
      Thirty-six (36) months [3 years].




                                                     MANDATORY CONDITIONS
 1.  You must not commit another federal, state or local crime.
 2.  You must not unlawfully possess a controlled substance.
 3.  You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
     probation and at least two periodic drug tests thereafter, as determined by the court.
                The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                substance abuse. (check if applicable)
 4.       You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 5.       You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 6.       You must participate in an approved program for domestic violence. (check if applicable)
 7.       You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
 8. You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
 9. If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
 10. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
     fines, or special assessments.


 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
 page.
                         Case 1:21-cr-00686-FYP Document 34 Filed 05/06/22 Page 4 of 8
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 4A  Probation
                                                                                                 JudgmentPage        4       of         9

DEFENDANT: Nathan Wayne Entrekin
CASE NUMBER: CR 21-686 (FYP)

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
      you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                    Date
                         Case 1:21-cr-00686-FYP Document 34 Filed 05/06/22 Page 5 of 8
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 4B  Probation
                                                                                           JudgmentPage    5    of        9
DEFENDANT: Nathan Wayne Entrekin
CASE NUMBER: CR 21-686 (FYP)

                                                ADDITIONAL PROBATION TERMS
 The Probation Office shall release the presentence investigation report to all appropriate agencies, which includes the
 United States Probation Office in the approved district of residence, in order to execute the sentence of the Court.

 Probation may be transferred to the District of Arizona.
                         Case 1:21-cr-00686-FYP Document 34 Filed 05/06/22 Page 6 of 8
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 4D  Probation
                                                                                           JudgmentPage   6     of         9
DEFENDANT: Nathan Wayne Entrekin
CASE NUMBER: CR 21-686 (FYP)

                                          SPECIAL CONDITIONS OF SUPERVISION
 Mental Health Assessment You shall complete a mental health assessment and evaluation as directed by the United
 States Probation Office. You shall comply with any mental health treatment recommendations as directed by a medical
 professional, to include administration of medication. You shall participate in a mental health treatment program, which
 may include outpatient counseling or residential placement, as approved and directed by the United States Probation
 Office.

 Mandatory Drug Testing You must submit to one drug test within 15 days of placement on supervision and at least two
 periodic drug tests thereafter, as determined by the court.

 Community Service - You must complete 60 hours of community service within 24 months. The probation officer will
 supervise the participation in the program by approving the program. You must provide written verification of completed
 hours to the probation officer.

 Financial Payment Schedule  Having assessed the defendants ability to pay, payment of the total criminal monetary
 penalties is due as follows: Payment in equal monthly installments of $50, to commence 30 days after release from
 incarceration.
                          Case 1:21-cr-00686-FYP Document 34 Filed 05/06/22 Page 7 of 8
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5  Criminal Monetary Penalties
                                                                                                          Judgment  Page       7    of        9
 DEFENDANT: Nathan Wayne Entrekin
 CASE NUMBER: CR 21-686 (FYP)
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment
 TOTALS           $ 10.00                   $ 500.00                $                           $                           $


      The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                  Total Loss***                   Restitution Ordered         Priority or Percentage
  Clerk of the Court for the United States                                       $500.00                      $500.00

  District Court, District of Columbia
  for disbursement to the following victim:



  Architect of the Capitol

  Office of the Chief Financial Officer
  Attn: Kathy Sherrill, CPA

  Ford House Office Building
  Room H2-205B
  Washington, DC 20515


 TOTALS                               $                        500.00           $                     500.00


       Restitution amount ordered pursuant to plea agreement $              500.00

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

           the interest requirement is waived for the              fine          restitution.

           the interest requirement for the              fine           restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
                          Case 1:21-cr-00686-FYP Document 34 Filed 05/06/22 Page 8 of 8
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6  Schedule of Payments
                                                                                                               Judgment  Page      9      of     9
 DEFENDANT: Nathan Wayne Entrekin
 CASE NUMBER: CR 21-686 (FYP)

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendants ability to pay, payment of the total criminal monetary penalties is due as follows:

 A          Lump sum payment of $         510.00                due immediately, balance due

                  not later than                                    , or
                  in accordance with          C,         D,          E, or           F below; or

 B          Payment to begin immediately (may be combined with                  C,           D, or        F below); or

 C          Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D          Payment in equal       monthly          (e.g., weekly, monthly, quarterly) installments of $ 50.00           over a period of
            36 mos        (e.g., months or years), to commence 30 days               (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E          Payment during the term of supervised release will commence within
                                                                        wit                     (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an as
                                                                          assessment of the defendants ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:
                                                                            p
             The financial obligations are payable to the Clerk of the Court or the U.S. District Court, 333 Constitution Ave NW,
             Washington, DC 20001. Within 30 days of any change of address, the defendant shall notify the Clerk of the Court
             of the change until such time as the financial obligation is paid in full.



 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                     Joint and Several                Corresponding Payee,
      (including defendant number)                         Total Amount                         Amount                          if appropriate




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendants interest in the following property to the United States:



 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.
